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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MARK S., on behalf of himself and as parent and )
Guardian of his minor child, A.S., and on behalf of )
all other similarly situated individuals,           )
                                                    )
        Plaintiff,                                  )            Civil Action No. 1:19-cv-08068
                                                    )
vs.                                                 )
                                                    )            The Honorable Martha M. Pacold
COLLEGE BOARD,                                      )
                                                    )
        Defendant.                                  )


       UNOPPOSED MOTION FOR ENTRY OF AGREED PROTECTIVE ORDER

        Defendant the College Board respectfully asks that the Court enter the Agreed

Confidentiality Protective Order submitted herewith in the form agreed to by the parties. 1

    1. Plaintiff Mark S. and his minor child, A.S. wish to proceed anonymously in this

litigation, in order to protect the identity of minor child, A.S.

    2. The parties have conferred and reached an agreement regarding the form and content of a

protective order sufficient to protect the identity of the minor child involved in this litigation

while allowing some initial exchange of information between the parties.

    3. The protective order is necessary to facilitate the orderly exchange of information

between the parties at this stage in the litigation.

    4. The parties will submit a separate protective order governing discovery at a later date, if

necessary.




1
 Plaintiff reserves and does not waive any rights by not opposing this motion. Likewise, the College
Board reserves and does not waive any rights or defenses in making this motion.
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       The College Board therefore respectfully requests that the Court enter the Agreed

Confidentiality Protective Order submitted with this Motion in the form agreed to by the parties.



Dated: February 14, 2020
                                                    /s/ Robert N. Hochman

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                                 CERTIFICATE OF SERVICE

       I, Jillian Sheridan Stonecipher, an attorney, hereby certify that on February 14, 2020, I

electronically filed the foregoing document with the clerk of the court for the Northern District

of Illinois, Eastern Division, using the electronic case filing system of the court. The electronic

case filing system sent a “Notice of E-Filing” to the attorneys of record in this case.

                                                       /s/ Jillian S. Stonecipher




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